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 8                               UNITED STATES DISTRICT COURT
 9                             SOUTHERN DISTRICT OF CALIFORNIA
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11   Brian WHITAKER,                                          Case No.: 20-cv-01749-AJB-BGS
12                                           Plaintiff,
                                                              ORDER SCHEDULING
13   v.                                                       SETTLEMENT DISPOSITION
                                                              CONFERENCE
14   GEPPETTOS, INC., and
     DOES 1–10,
15                                                            [ECF No. 11]
                                          Defendant.
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            On January 15, 2021, the parties to filed a Notice of Settlement notifying the Court
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     that a settlement to resolve all claims at issue has been reached. (ECF No. 11.)
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     Accordingly, IT IS HEREBY ORDERED:
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            1.     A Joint Motion to Dismiss must be electronically filed on or before March
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                   15, 2021.1 On the same day the Joint Motion to Dismiss is filed, the
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                   proposed order for dismissal, for the signature of the Honorable Anthony J.
23
                   Battaglia, must be emailed to Judge Skomal’s chambers at
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                   efile_skomal@casd.uscourts.gov.2
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       See Electronic Case Filing Administrative Policies and Procedures Manual, United States District
     Court for the Southern District of California.
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       See id. § h, for the chambers’ official email address and procedures on emailing proposed orders.

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 1        2.    If a Joint Motion to Dismiss and proposed order to dismiss are not submitted
 2              on or before March 15, 2021, then a Settlement Disposition Conference will
 3              be held on March 19, 2021, at 10:00 AM before Judge Skomal. The
 4              conference shall be telephonic, with attorneys only. Counsel for Plaintiff
 5              shall initiate and coordinate the conference call.
 6        3.    If a Joint Motion to Dismiss and proposed order for dismissal are received
 7              on or before March 15, 2021, the Settlement Disposition Conference will be
 8              vacated.
 9        IT IS SO ORDERED.
10   Dated: January 20, 2021
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